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                     EXHIBIT 12C
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Appendix C to Compensation Framework for
       Wetlands Real Property Claims:
Eligible Parcel Compensation Category Map




                        Appendix C: Eligible Parcel Compensation                  1
                                     Category Map
                                                                                028040
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                      Louisiana (Entire Zone)




                                                                          Zone A
                                                                          Zone B


                  Appendix C: Eligible Parcel Compensation
                               Category Map
                                                                            028041
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                  Louisiana (Detailed Portion 1)




                                                                          Zone A
                                                                          Zone B


                  Appendix C: Eligible Parcel Compensation                     3
                               Category Map
                                                                            028042
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                  Louisiana (Detailed Portion 2)




                                                                          Zone A
                                                                          Zone B


                  Appendix C: Eligible Parcel Compensation                     4
                               Category Map
                                                                            028043
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                  Louisiana (Detailed Portion 3)




                                                                          Zone A
                                                                          Zone B
                  Appendix C: Eligible Parcel Compensation                     5
                               Category Map
                                                                            028044
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                  Louisiana (Detailed Portion 4)




                                                                          Zone A
                                                                          Zone B


                  Appendix C: Eligible Parcel Compensation                     6
                               Category Map
                                                                            028045
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                  Louisiana (Detailed Portion 5)




                                                                          Zone A
                                                                          Zone B

                  Appendix C: Eligible Parcel Compensation                            7
                               Category Map
                                                                                   028046
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                   Louisiana (Detailed Portion 6)




Zone A
Zone B
                   Appendix C: Eligible Parcel Compensation                   8
                                Category Map
                                                                           028047
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                  Louisiana (Detailed Portion 7)




                                                                           Zone A
                                                                           Zone B


                  Appendix C: Eligible Parcel Compensation                      9
                               Category Map
                                                                             028048
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                  Louisiana (Detailed Portion 8)




                                                                           Zone A
                                                                           Zone B


                  Appendix C: Eligible Parcel Compensation                  10
                               Category Map
                                                                           028049
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                  Louisiana (Detailed Portion 9)




                                                                           Zone A
                                                                           Zone B


                  Appendix C: Eligible Parcel Compensation                    11
                               Category Map
                                                                             028050
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                  Louisiana (Detailed Portion 10)




                                                                           Zone A
                                                                           Zone B

                  Appendix C: Eligible Parcel Compensation                      12
                               Category Map
                                                                               028051
